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                          United States Department of the Interior
                                       INTERIOR BUSINESS CENTER
                                           Washington, DC 20240



                                                                                     March 21, 2025

To:            Leah Prestamo
               Acacia Center for Justice
               1025 Connecticut Avenue NW
               Suite 1000A
               Washington, DC 20036

Subject:       Notice of Partial Termination for the Government’s Convenience

Contract 140D0422C0009, awarded on March 29, 2022, by the United States Department of the
Interior (DOI), Interior Business Center (IBC), Acquisition Services Directorate (AQD) on behalf of
the Department of Health and Human Services (HHS), Administration for Children and Families
(ACF), Office Refugee Resettlement (ORR) as a part of our Interagency Agreement for acquisition
services, is hereby partially terminated for the Government’s convenience. Contract Line Items
(CLINs) 2 – Direct Representation, 3 – Recruitment, and 4 – Direct Representation Expansion are
terminated for the Government’s convenience.

In accordance with FAR 52.212-4 Contract Terms and Conditions – Commercial Items (Alternate I)
(Nov 2021) – (l) Termination for the Government’s convenience

“(l) Termination for the Government's convenience. The Government reserves the right to terminate
this contract, or any part hereof, for its sole convenience. In the event of such termination, the
Contractor shall immediately stop all work hereunder and shall immediately cause any and all of its
suppliers and subcontractors to cease work. Subject to the terms of this contract, the Contractor
shall be paid an amount for direct labor hours (as defined in the Schedule of the contract)
determined by multiplying the number of direct labor hours expended before the effective date
of termination by the hourly rate(s) in the contract, less any hourly rate payments already
made to the Contractor plus reasonable charges the Contractor can demonstrate to the
satisfaction of the Government using its standard record keeping system that have resulted
from the termination. The Contractor shall not be required to comply with the cost accounting
standards or contract cost principles for this purpose. This paragraph does not give the Government
any right to audit the Contractor's records. The Contractor shall not be paid for any work performed
or costs incurred that reasonably could have been avoided.” Emphasis added.

*Recovery for any unpaid Firm-Fixed-Price work would be subject to the non-Alternate I version of
FAR 52.212-4(l).

You are hereby notified to immediately stop work on CLINs 2, 3, and 4 and that effective close of
business March 21, 2025, the Contracting Officer is terminating CLINs 2, 3, and 4 on Contract
140D022C0009 for the Government’s convenience in accordance with FAR 52.212-4 (l)
(Alternate I) for T&M work and paragraph (l) of the non-Alternate I version of FAR 52.212-4(l) for
any Firm-Fixed-Price effort or products. CLIN 1 – Know Your Rights and Legal Screenings shall
remain in full force and effect.
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As defined in 44 U.S.C. § 3301, any Federal records created, received, or maintained by Acacia
Center for Justice, or its subcontractors, pursuant to this ACF contract, are due back to the ORR No
Later Than (NLT) 30 days from this notice. ACF owns the rights to all data and records produced as
part of this order. Acacia Center for Justice is notified that any deliverables under the contract not
specifically called out in this memo, are the property of the U.S. Government and are expected to be
included in the records turnover NLT 30 days from this notice.

Any deliverables under CLINs 2, 3, and 4 that are scheduled for delivery after March 21, 2025, are
hereby terminated for the Government’s convenience in their entirety. Timely response to this request
will be reflected in the CPARS evaluation. Additionally, the Government will ensure to include a
narrative to explain the termination was not due to fault of the contractor.

Should you wish to submit a termination settlement proposal, the final shall be submitted to the
Contracting Officer as promptly as possible, but no later than forty-five (45) calendar days from
receipt of this notice. However, if after considering the costs incurred and the costs previously paid
by the Government, Acacia Center for Justice determines a no-cost settlement is in the company’s
best interest, please contact the undersigned Contracting Officer.

Please acknowledge receipt of this notice, as provided below.

SHELITA SAINT- Digitally  signed by SHELITA
                  SAINT-LOUIS
LOUIS                                                                   3/21/2025
___________________________________                                     ___________________________
                  Date: 2025.03.21 09:06:52 -04'00'

Shelita Saint-Louis, Contracting Officer                                Date
U.S. Department of the Interior
Interior Business Center / Acquisition Services Directorate
381 Elden St, Suite 2000A
Herndon, VA 20170

Acknowledgment of Notice

The undersigned hereby acknowledges receipt of this notice. The Contractor must promptly return
one signed pdf version of this notice to the Contracting Officer at Shelita_Saint-Louis@ibc.doi.gov.



___________________________________                                     ___________________________
Acacia Center for Justice                                               Date
1025 Connecticut Avenue NW
Suite 1000A
Washington, DC 20036




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